









Dismissed and Memorandum Opinion filed May 20, 2004









Dismissed and Memorandum Opinion filed May 20, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00261-CV

____________

&nbsp;

ASFRAF JAMAL,
Appellant

&nbsp;

V.

&nbsp;

ESQUIRE
DEPOSITION SERVICES, Appellee

&nbsp;



&nbsp;

On Appeal from County Civil Court
at Law No. 1

Harris County,
Texas

Trial Court Cause No.
783,235

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed October 23,
2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On April 13, 2004, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 20, 2004.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





